12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 1 of 88



                                 EXHIBIT 1

                             Delehey Declaration




ny-1120571
12-12020-mg           Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25                Exhibit 1 -
                               Delehey Declaration Pg 2 of 88



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Counsel for the Debtors and
Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                               )
 In re:                                        )       Case No. 12-12020 (MG)
                                               )
 RESIDENTIAL CAPITAL, LLC, et al.,             )       Chapter 11
                                               )
                                 Debtors.      )       Jointly Administered
                                               )

             DECLARATION OF LAUREN GRAHAM DELEHEY,
CHIEF LITIGATION COUNSEL AT RESIDENTIAL CAPITAL, LLC, IN SUPPORT OF
   DEBTORS’ OBJECTION TO MOTION FOR RELIEF FROM STAY FILED ON
     BEHALF OF ROSALIND ALEXANDER-KASPARIK [DOCKET NO. 5621]

          I, Lauren Graham Delehey, declare as follows:

          A.     Background and Qualifications

                 1.      I serve as Chief Litigation Counsel in the legal department at Residential

Capital, LLC (“ResCap”), a limited liability company organized under the laws of the state of

Delaware and the parent of the other debtors and debtors in possession in the above-captioned

chapter 11 cases (collectively, the “Debtors”). I have served as in-house litigation counsel since

I joined ResCap on August 1, 2011.

                 2.      In my role as Chief Litigation Counsel at ResCap, I am responsible for the

management of residential mortgage-related litigation. I am authorized to submit this declaration



                                                   1
ny-1121039
    12-12020-mg         Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25                            Exhibit 1 -
                                 Delehey Declaration Pg 3 of 88



(the “Declaration”) in support of the Debtors’ Objection To Motion For Relief From Stay Filed

On Behalf Of Rosalind Alexander-Kasparik [Docket No. 5621] (the “Objection”).1

                   3.       In my capacity as Chief Litigation Counsel, I am generally familiar with

the Debtors’ litigation matters, including the California Action (defined below). Except as

otherwise indicated, all statements in this Declaration are based upon my personal knowledge;

information supplied or verified by personnel in departments within the Debtors’ various

business units; my review of the Debtors’ litigation case files, books and records, as well as other

relevant documents; my discussions with other members of the Debtors’ Legal Department;

information supplied by the Debtors’ consultants and counsel; or my experience, expertise, and

knowledge of the Debtors’ litigation matters, financial condition and history. In making my

statements based on my review of the Debtors’ litigation case files, books and records, relevant

documents, and other information prepared or collected by the Debtors’ employees, consultants

or counsel, I have relied upon these employees, consultants, and counsel accurately recording,

preparing, collecting, or verifying any such documentation and other information. If I were

called to testify as a witness in this matter, I would testify competently to the facts set forth

herein.

          B.       Events Giving Rise To The Motion

                   4.       On or about May 16, 2005, Movant obtained a loan (the “Loan”) secured

by a first deed of trust from Unitrust Mortgage, Inc. in the amount of $314,240.00 against the

property located at 1021 Scott Street #149, San Diego, California 92106 (the “Property”). See

Note and Deed of Trust, annexed hereto as Exhibits A and B, respectively. GMACM was the

servicer for the Loan.

1
    Capitalized terms used herein and not otherwise defined shall have the meaning ascribed to such terms in the
    Objection.


                                                           2
ny-1121039
12-12020-mg         Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25                Exhibit 1 -
                             Delehey Declaration Pg 4 of 88



               5.      California law allows for non-judicial foreclosures. As a result of

Movant’s continuing default under the Loan, on or about October 14, 2010, Executive Trustee

Services (“ETS”), acting as agent for GMACM, served and recorded a notice of default on the

Loan. See Notice of Default and Election to Sell Under Deed of Trust, annexed hereto as

Exhibit C.

               6.      On or about May 24, 2012, ETS recorded a notice of trustee’s sale of the

Property, which was scheduled to be held on July 3, 2012. See Notice of Trustee’s Sale,

annexed hereto as Exhibit D.

               7.      GMACM purchased the Property at the trustee’s sale, which was

ultimately held on July 3, 2012. See Trustee’s Deed Upon Sale, annexed hereto as Exhibit E.

Shortly thereafter, GMACM deeded the Property to Federal Home Loan Mortgage Corporation

(“Freddie Mac”). See Corporation Grant Deed, annexed hereto as Exhibit F. Following the

closing of the Ocwen sale, Ocwen took over servicing of the Property.

               8.      On or about July 31, 2012, Movant filed a complaint (the “Complaint”)

commencing the California Action against GMACM, Freddie Mac, and various unspecified

defendants in the California State Court (Case No. 37-2012-101531), asserting claims for:

(I) Intentional Misrepresentation; (II) Negligent Misrepresentation; (III) Breach of Fiduciary

Duty; (IV) Unjust Enrichment; (V) Breach of Contract; (VI) Quiet Title; (VII) Violation of

California Civil Code § 2923.6; and (V) Violation of California Business & Professions Code

§§ 17200, et seq. See Motion, Ex. A.

               9.      On October 10, 2012, GMACM filed a Notice of Bankruptcy and

Suggestion of Automatic Stay (the “NOB”) with the California State Court. See NOB, annexed

hereto as Exhibit G.



                                                 3
ny-1121039
12-12020-mg           Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25                 Exhibit 1 -
                               Delehey Declaration Pg 5 of 88



                10.      The California Action has remained stayed since the NOB was filed.

                11.      On November 8, 2012, Movant’s counsel filed a proof of claim (Claim

No. 3695) on Movant’s behalf against GMACM, asserting a secured claim on account of the

California Action in the amount of $1.5 million. See Proof of Claim No. 3695, annexed hereto

as Exhibit H.

                12.      The California Action has remained stayed since the NOB was filed.

        C.      Certain Sonnax Factors

                13.      As far as I am aware, no specialized tribunal has been created to hear any

of the claims involved in the California Action, which raises only state law claims.

                14.      In the vast majority of the cases, including the California Action, the

Debtors pay their legal defense fees and costs out-of-pocket. As a result, requiring the Debtors

to defend the California Action will result in increased out-of-pocket defense costs for outside

counsel fees and expenses alone.



                Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Dated: December 10, 2013


                                                        /s/ Lauren Graham Delehey
                                                        Lauren Graham Delehey
                                                        In-House Litigation Counsel for
                                                        Residential Capital, LLC




                                                   4
ny-1121039
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 6 of 88



                           Exhibit A to Declaration
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 7 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 8 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 9 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 10 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 11 of 88



                           Exhibit B to Declaration
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 12 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 13 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 14 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 15 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 16 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 17 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 18 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 19 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 20 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 21 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 22 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 23 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 24 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 25 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 26 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 27 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 28 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 29 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 30 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 31 of 88



                           Exhibit C to Declaration
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 32 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 33 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 34 of 88



                           Exhibit D to Declaration
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 35 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 36 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 37 of 88



                           Exhibit E to Declaration
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 38 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 39 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 40 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 41 of 88



                           Exhibit F to Declaration
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 42 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 43 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 44 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 45 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 46 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 47 of 88



                           Exhibit G to Declaration
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 48 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 49 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 50 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 51 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 52 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 53 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 54 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 55 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 56 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 57 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 58 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 59 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 60 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 61 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 62 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 63 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 64 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 65 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 66 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 67 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 68 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 69 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 70 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 71 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 72 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 73 of 88



                           Exhibit H to Declaration
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25 Exhibit 1 -
                                                          Claim #3695 Date Filed: 11/8/2012
                       Delehey Declaration Pg 74 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 75 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 76 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 77 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 78 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 79 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 80 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 81 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 82 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 83 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 84 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 85 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 86 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 87 of 88
12-12020-mg   Doc 6056-1 Filed 12/10/13 Entered 12/10/13 15:46:25   Exhibit 1 -
                       Delehey Declaration Pg 88 of 88
